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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF DELAWARE

 

HYEYOUNG BYUN, derivatively on behalf of
NIKOLA CORPORATION,

Plaintiff, Case No.: 20-cv-01277-CFC
vs.

TREVOR MILTON, STEVE GIRSKY, STEVE
SHINDLER, MARK RUSSELL, KIM J.
BRADY, SOPHIA JIN, MIKE MANSUETTI,
GERRIT MARX, LON STALSBERG,
DEWITT THOMPSON, V, JEFF UBBEN,
ROBERT GENDELMAN, SARAH W.
HALLAC, RICHARD J. LYNCH, and
VICTORIA MCINNIS,

Defendants,

and

NIKOLA CORPORATION,
Nominal Defendant.

PRAHANT SALGUOCAR, CYNTHIA M.
LANGFORD, and NAHID HAJARIAN
Derivatively on Behalf of NIKOLA
CORPORATION, Case No.: 20-cv-01404-CFC

Plaintiffs,
vs.
STEVE GIRSKY, MARK RUSSELL, SOPHIA
JIN, MIKE MANSUETTI, GERRIT MARX,
STEVE SHINDLER, DEWITT THOMPSON,
and JEFF UBBEN,
Defendants,

-and-

NIKOLA CORPORATION,

 

Nominal Defendant
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JOINT STIPULATION AND [PROPOSED] ORDER CONSOLIDATING
RELATED SHAREHOLDER DERIVATIVE ACTIONS,
ESTABLISHING A LEADERSHIP STRUCTURE & STAYING THE CASE

WHEREAS, on September 23, 2020, plaintiff Hyeyoung Byun (“Plaintiff Byun”) filed a
shareholder derivative action on behalf of nominal defendant Nikola Corporation (“Nikola” or the
“Company”) in this Court alleging violations of Section 14(a) of the Exchange Act, breaches of
fiduciary duty, unjust enrichment, abuse of control, and gross mismanagement against defendants
Trevor Milton, Steve Girsky, Steve Shindler, Mark Russell, Kim J. Brady, Sophia Jin, Mike
Mansuetti, Gerrit Marx, Lon Stalsberg, Dewitt Thompson, V, Jeff Ubben, Robert Gendelman,
Sarah W. Hallac, Richard J. Lynch, and Victoria Mcinnis (collectively “Individual Defendants”
and together with the Company, “Defendants’), captioned Byun v. Milton, et al., Case No. 20-cv-
01277-CFC (the “Byun Action”);

WHEREAS, on October 19, 2020, plaintiffs Prahant Salguocar, Cynthia M. Longford, and
Nahid Hajarian (“Plaintiffs Salguocar, Longford and Hajarian”) filed another shareholder
derivative action on behalf of the Nikola Corporation in this Court alleging breaches of fiduciary
duty, gross mismanagement, waste of corporate assets, and violations of Sections 14(a) of the
Exchange Act against certain of the Individual Defendants, captioned Salguocar et al., v. Girsky,
et al., Case No. 20-cv-01404-CFC (the “Salguocar Action”);

WHEREAS, there are currently five pending putative class actions (“Securities Class
Actions”) against Nikola alleging violations of securities laws arising from statements and
circumstances similar to those at issue in these derivative actions, styled as Borteanu v. Nikola
Corp. et al., Case No. 2:20-cv-01797 (Sept. 15, 2020, D. Ariz.), Salem v. Nikola Corp. et al., Case
No. 1:20-cv-04354 (Sept. 16, 2020, E.D.N.Y.), Wojichowski v. Nikola Corp. et al., Case No. 2:20-

cv-01819 (Sept. 17, 2020, D. Ariz.), Malo v. Nikola Corp. et al., Case No. 5:20-cv-02168 (October
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16, 2020, C.D. Cal.) and Holzmacher v. Nikola Corp. et al., Case No. 2:20-cv-2123 (Nov. 3, 2020,
D. Ariz.), collectively the “Securities Class Actions”;

WHEREAS, on October 15, 2020, Plaintiff Byun and Defendants agreed that a temporary
stay of the Byun Action would be appropriate in that it would better preserve the resources of the
parties and the Court, and would more closely align the proceedings in the Byun Action with the
proceedings in the Securities Class Actions (D.I. No. 7). This Court so ordered that stipulation on
October 19, 2020;

WHEREAS, counsel for Defendants named respectively in the Byun Action and the
Salguocar Action, hereinafter “Related Derivative Actions,” have accepted service of the
complaints, without waiver of or prejudice to any rights, arguments, or defenses any Defendant
may have (other than those based solely on the failure to complete service), including but not
limited to defenses based on lack of personal jurisdiction;

WHEREAS, counsel in the Related Derivative Actions agree the stay in the Byun action
should be lifted at this time solely for the purposes of considering the instant stipulation and
proposed order;

WHEREAS, under Fed. R. Civ. P. 42(a), when actions involve “a common question of law
or fact,” the Court may “(1) join for hearing or trial any or all matters at issue in the actions;
(2) consolidate the actions; or (3) issue any other orders to avoid unnecessary cost or delay”;

WHEREAS, the Related Derivative Actions challenge substantially the same alleged
conduct and involve substantially the same questions of law and fact;

WHEREAS, the parties therefore respectfully submit that consolidation of the Related

Derivative Actions is appropriate;
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WHEREAS, to avoid potentially duplicative actions and to prevent any waste of the
Court’s and Nominal Defendant’s resources, the Parties agree that the Related Derivative Actions
should be consolidated for all purposes, including pre-trial proceedings and trial, into a single
consolidated action;

WHEREAS, in order to realize the efficiencies made possible by consolidation of the
Related Derivative Actions, Plaintiffs agree that The Brown Law Firm, P.C. and Gainey McKenna
& Egleston, the respective resumes of which are attached hereto as Exhibits A and B, shall seek
appointment as Co-Lead Counsel representing Plaintiffs in the consolidated action, subject to this
Court’s approval;

WHEREAS, Plaintiffs also agree that Farnan LLP and O’Kelly & Ernst, LLC shall seek
appointment as Liaison Counsel representing plaintiffs in the consolidated action, subject to this
Court’s approval;

WHEREAS, without waiving any rights, arguments or defenses, Defendants agree the
Related Derivative Actions should be consolidated and take no position regarding appointment of
Lead Counsel or Liaison Counsel;

WHEREAS, this stipulation is not a waiver of any of the Parties’ rights, remedies, claims,
or defenses.

NOW, THEREFORE, subject to the reservations of rights set forth above, the Parties,
through their undersigned counsel, hereby agree, stipulate, and respectfully request that the Court
enter an Order as follows:

l. The temporary stay agreed upon in the Byun Action and so-ordered by this Court
on October 19, 2020 is lifted for the temporary and exclusive purpose of the filing of the instant

stipulation and the Court’s ruling thereon.
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2. The following actions are hereby consolidated for all purposes, including pre-trial
proceedings and trial, under Case No. 20-cv-01277-CFC (the “Consolidated Action”), pursuant to

Federal Rule of Civil Procedure 42(a):

Case Name Case Number Date Filed

Byun v. Milton, et al. 20-cv-01277-CFC September 23, 2020
Salguocar et al., v. Girsky, et al. 20-cv-01404-CFC October 19, 2020

3. Every pleading filed in the Consolidated Action, or in any separate action included

herein, must bear the following caption:

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

IN RE NIKOLA CORPORATION
DERIVATIVE LITIGATION Lead Case No. 20-cv-01277-CFC
CONSOLIDATED

4, All papers filed in connection with the Consolidated Action will be maintained in
one file under Lead Case No. 20-cv-01277-CFC.

5. Subject to this Court’s approval, Co-Lead Counsel for plaintiffs for the conduct of
the Consolidated Action shall be:

THE BROWN LAW FIRM, P.C.

Timothy Brown
240 Townsend Square
Oyster Bay, NY 11771
Telephone: (516) 922-5427
Facsimile: (516) 344-6204
Email: tbrown@thebrownlawfirm.net

GAINEY McKENNA & EGLESTON
Thomas J. McKenna
Gregory M. Egleston
501 Fifth Avenue, 19'" Floor
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New York, NY 10017
Telephone: (212) 983-1300
Facsimile: (212) 983-0373

Email: timckenna@gme-law.com
Email: gegleston@gme-law.com

6. Plaintiffs’ Co-Lead Counsel shall have the sole authority to speak for Plaintiffs in
all matters regarding pre-trial procedure, trial, and settlement negotiations, and shall make all work
assignments in such manner as to facilitate the orderly and efficient prosecution of this litigation
and to avoid duplicative or unproductive effort.

7. Co-Lead Counsel will be responsible for coordinating all activities and appearances
on behalf of Plaintiffs. No motion, request for discovery, or other pre-trial or trial proceedings
will be initiated or filed by any plaintiffs except through Co-Lead Counsel.

8. Subject to this Court’s approval, Liaison Counsel for plaintiffs for the conduct of
the Consolidated Action shall be:

FARNAN LLP
Brian E. Farnan (Bar No. 4089)

Michael J. Farnan (Bar No. 5165)
919 N. Market St., 12th Floor
Wilmington, DE 19801
Telephone: (302) 777-0300
Facsimile: (302) 777-0301
Email: bfarnan@farnanlaw.com

Email: mfarnan@farnanlaw.com

O’KELLY & ERNST, LLC
Ryan Ernst (Bar No. 4788)
824 N. Market Street, Suite 1001A
Wilmington, DE 19801
Telephone: (302) 778-4000

Email: rernst@oelegal.com

9, Plaintiffs’ Liaison Counsel shall be available and responsible for communications

to and from this Court, including distributing orders and other directions from the Court to counsel.
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Liaison Counsel shall be responsible for creating and maintaining a master service list of all parties
and their respective counsel.

10. Defendants’ counsel may rely upon all agreements made with Co-Lead Counsel, or
other duly authorized representative of Co-Lead Counsel, and such agreements shall be binding
on all Plaintiffs.

11. This Order shall apply to each derivative case filed on behalf of Nikola Corporation,
arising out of the same, or substantially the same, transactions or events as these cases, which is
subsequently filed in, removed to, reassigned to, or transferred to this Court. Any such
subsequently filed action shall be consolidated into Jn re Nikola Corporation. Derivative
Litigation, Lead Case No. 20-cv-01277-CFC as provided below in Paragraph 12.

12. When a derivative case that properly belongs as part of In re Nikola Corporation.
Derivative Litigation, Lead Case No. 20-cv-01277-CFC, is hereafter filed in this Court, removed
to this Court, reassigned to this Court, or transferred here from another court, counsel for either
Defendants or Lead Plaintiffs shall call to the attention of the Clerk of the Court the filing,
reassignment, or transfer of any case that might properly be consolidated as part of Jn re Nikola
Corporation. Derivative Litigation, Lead Case No. 20-cv-01277-CFC, and Co-Lead Counsel shall
assure that counsel in subsequent actions receive notice of this Order. Upon receiving such Order,
counsel for the new action shall have ten (10) days to file papers as to why the new action should
not be consolidated. Any party may thereafter file papers with respect to such filing within
fourteen (14) days thereafter. All papers and documents previously filed and/or served in any of

the cases consolidated herein shall be deemed a part of the record in this Consolidated Action.
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13. After this Court’s consideration of this proposed stipulation, the temporary stay
agreed upon in the Byun Action and so-ordered by this Court on October 19, 2020 shall be
reinstated, and shall control this Consolidated Action.

14. While the stay is temporarily lifted so that this Court can consider this proposed
stipulation, Defendants shall not be required to respond to either the Byun or Salguocar
Complaints.

15. This Stipulation is without prejudice to any and all defenses Defendants may assert

in this or any of the above-referenced actions.

IN WITNESS WHEREOF, the parties, through their undersigned counsel, have executed this

Stipulation as of this November, 2020.
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FARNAN LLP

/s/ Brian E. Farnan

Brian E. Farnan (Bar No. 4089)
Michael J. Farnan (Bar No. 5165)
919 N. Market St., 12th Floor
Wilmington, DE 19801
Telephone: (302) 777-0300
Facsimile: (302) 777-0301

Email: bfarnan@farnanlaw.com
Email: mfarnan@farnanlaw.com

Counsel for Plaintiff Byun and
[Proposed] Liaison Counsel for Plaintiffs

OF COUNSEL:

Timothy Brown

THE BROWN LAW FIRM, P.C.
240 Townsend Square

Oyster Bay, NY 11771

(516) 922-5427

(516) 344-6204
tbrown@thebrownlawfirm.net

Counsel for Plaintiff Byun and [Proposed] Co-
Lead Counsel for Plaintiffs

MORRIS, NICHOLS, ARSHT & TUNNELL LLP

/s/ Sabrina M, Hendershot
William M. Lafferty (#2755)
Susan W. Waesco (#4476)
Sabrina M. Hendershot (#6286)
1201 N. Market Street
Wilmington, DE 19801

(302) 658-9200
wlafferty@mnat.com
swaesco@mnat.com
shendershot@mnat.com

OF COUNSEL:

Asheesh Goel, P.C.

Gabor Balassa, P.C.

Whitney L. Becker
KIRKLAND & ELLIS LLP
300 N. LaSalle Street
Chicago, IL 60654

(312) 862-2000
asheesh.goel@kirkland.com
gbalassa@kirkland.com
whitney. becker@kirkland.com

Jeremy A. Fielding
KIRKLAND & ELLIS LLP
1601 Elm Street ,
Dallas, TX 75201

(214) 972-1770
jeremy.fielding@kirkland.com

Aaron Marks, P.C.
KIRKLAND & ELLIS LLP
601 Lexington Avenue

New York, NY 10022

(212) 446-4800
aaron.marks@kirkland.com

Counsel for Defendants Steve Girsky, Mark Russell,
Kim Brady, Sophia Jin, Mike Mansuetti, Gerrit Marx,
Lon Stalsberg, DeWitt Thompson V, Jeff Ubben and
Nominal Defendant Nikola Corporation
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O’KELLY & ERNST, LLC

/s/ Ryan Ernst

Ryan Ernst (Bar No. 4788)

824 N. Market Street, Suite 1OOIA
Wilmington, DE 19801

(302) 778-4000
rernst@oelegal.com

Counsel for Plaintiff Salguocar, Longford
and Hajarian and [Proposed] Liaison
Counsel for Plaintiffs

OF COUNSEL:

GAINEY McKENNA & EGLESTON
Thomas J. McKenna

Gregory M. Egleston

501 Fifth Avenue, 19" Floor

New York, NY 10017

(212) 983-1300
tjmckenna@gme-law.com
gegleston@gme-law.com

Counsel for Plaintiffs Salguocar, Longford
and Hajarian and [Proposed] Co-Lead
Counsel for Plaintiffs

CONNOLLY GALLAGHER LLP

/s/ Henry E. Gallagher, Jr.

Henry E. Gallagher, Jr. (#495)
Lauren P, DeLuca (#6024)

1201 North Market Street, 20th Floor
Wilmington, DE 19801

(302) 888-6288
hgallagher@connollygallagher.com
Ideluca@connollygallagher.com

OF COUNSEL:

Bradley J. Bondi

Peter J. Linken

CAHILL GORDON & REINDEL LLP
32 Old Slip

New York, NY 10005

(212) 701-3000

bbondi@cahill.com

plinken@cahill.com

Counsel for Defendant Trevor Milton

POTTER ANDERSON & CORROON LLP

/s/ Jonathan A. Choa

Peter J. Walsh, Jr. (#2437)
Jonathan A. Choa (#5319)
Tracey E. Timlin (#6469)
P.O. Box 951

Hercules Plaza

Wilmington, DE 19899
(302) 984-6000
pwalsh@potteranderson.com
jchoa@potteranderson.com
ttimlin@potteranderson.com
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OF COUNSEL:

Ellen V. Holloman

Jaclyn A. Hall

CADWALADER, WICKERSHAM & TAFT LLP
200 Liberty Street

New York, NY 10281

(212) 504-6000

Stephen. fraidin@cwt.com

Ellen.holloman@cwt.com

Jaclyn.hall@cwt.com

Counsel for Defendants Steve Shindler, Robert
Gendelman, Sarah Hallac, Richard Lynch, and
Victoria McInnis

SO ORDERED this / Da, of November 2020.

Dt A

The Honorable Colm’F. Connolly 7
